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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                    NO. 4:04CR00281-05 JLH

MELISSA HORNER                                                                      DEFENDANT


                                             ORDER

       By Order dated January 15, 2008, the Court gave defendant Nelson Miller up to and

including February 28, 2008, in which to submit his brief specifying the exact amount of restitution

owed to him, and directed that any reply brief be submitted by March 20, 2008.

       Nelson Miller submitted his restitution brief on March 12, 2008. Therefore, the time in

which to submit reply briefs is extended up to and including Wednesday, April 2, 2008.

       IT IS SO ORDERED this 24th day of March, 2008.



                                                     _________________________________
                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
